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EASTUERND D|STR|CTARKANSAS

IN THE UNITED STATES DISTRICT COURT APR 1 5 2018

FOR THE EASTERN DISTRICT OF ARKANSA§QME.` §

      

JEAN EVANS,

Plaintiff,

Case NO- _LMZ_QLQ§I¢_§GLE>

VS.

PETCO ANIMAL SUPPLIES STORES,
INC. and JOHN DOES l-l()O,
Salz'ne Counly Case No. 63CV-]8-392

V\./\_/\/\/\/\/V\_/\/

Defendants.
N()TICE OF REMOVAL

Defendant, Petco Animal Supplies Stores, Inc. (“Petco”), hereby removes Case

. ' " g .\ QR_\,"CK, CLERK

cap cLERK

No. 63CV-18-392 from the Circuit Court of Saline County, State of Arkansas, to the d

United States District Court for the Eastern District of Arl<ansas pursuant to 28 U.S.C. §§
l332(a), 1441, and 1446, and as grounds for its removal Would show the Court as
follows:
The Removed Case

l. On March l9, 2018, the above case entitled Jean Evcms vs. Pez‘co Anz'mal
Supplies Stores, lnc. and John Does ]-100, Case No. 63CV-]8~392 Was filed in the
Circuit Court for Saline County, State of Arkansas. A copy of the Complaint setting
forth Plaintiff’s claims for relief against all Defendants is attached as Exhibit l.

2. Defendant Petco Was served on March 21, 2018. A copy of the letter from
Plaintift`s counsel indicating service on Defendant Petco is attached as Exhibit 2.

3. Plaintiff maintains a cause of action against all Defendants for allegedly

negligently causing personal injury to Plaintiff through creating a dangerous condition by

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allowing a metal rod to protrude into a walkway and failing to warn Plaintiff of the
dangerous condition On the face of her Complaint, Plaintiff demands actual damages for
personal injury from Defendants in excess of $75,000 (exclusive of interest and costs).
(Ex. l at p. 5).
The Parties

4. To the best of Defendant Petco’s knowledge and belief, Plaintiff is a
resident of the State of Arl<ansas.

5. Defendant Petco is incorporated in the state of Delaware, and its principal
place of business is located in California.

6. Pursuant to 28 U.S.C. § l44l(b)(l), the citizenship of the John Doe
Defendants should be disregarded

Jurisdiction & Venue

7. This Court has original jurisdiction over this case under 28 U.S.C. §
l332(a) because the amount in controversy exceeds the sum of $75,000, exclusive of
interest and costs and the case is between citizens of different states. Accordingly, this
action may be removed by Petco pursuant to 28 U.S.C. § 1441.

8. This Notice of Removal is filed in this Court within 30 days after March
21, 2018, the date Defendant Petco was served with a copy of Plaintiff’s Complaint,
which is the initial pleading setting forth the claim for relief upon which this Removal is

based.

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9. Venue is proper in this Court under 28 U.S.C. § l44l(a) because the Circuit
Court of `Saline County, State of Arl<ansas, is within the United States District for the
Eastern District of Arl<ansas.

WHEREFORE, Defendant Petco respectfully requests that this action be
removed to this Court for further proceedings

Dar@d this 13th day Oprril, 2018.

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Respe@ctcfiilly §'iiibmitted,

 

 

Jason ooodmghr Ari< Ba ‘NO 2`008112

UDEN, _F'ARRIS QuiLL§;/f,§§
DNIGI-IT & ROBERT

Willia' s Center Tower ll

Two ‘§Fest Second Street, Suite 900

Tulsa, OK 74103-3101

918/583~7129

918/584-3814 FAX
igoodnight@tulsalawver.com

 

Attorney for Defendant Pelco Animal
Supplies Slores, Inc.

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CERTIFICATE OF SERVICE

I hereby certify that on the 13th day of April, 2018, a true and correct copy of the above
and foregoing was mailed, properly addressed and postage fully prepaid to:

Andrew M. Taylor,

Tasha C. Taylor,
TAYLOR & TAYLGR LAW FIRM, P.A.

1292l Cantrell Road, Suite 205
Little Rocl<, Arkansas 72223
Atlorneysfor Plaintiff

 

 

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lN THE CIRCUIT COURT OF SALINE COUNTY, ARKANSAS

 

l l)IvIsloN

JEAN EVANS t _ PLAINTIFF

vs. CAsE No.\°zQ\/- \3- 3‘37_

PETCo ANIMAL sUPPLIEs sToRES, INC. and v

JoHN I)oEs 1~100 , DEFENDANTS
CoMPLAINT

 

Comes now the Plaintiff, Jean Evans, by and through her attorneys, TAYLOR & TAYLOR

LAW FIRM, P.A., and for her Complaint does state:
JURISDIC'l`ION AND VENUE

l. At all times relevant to this Complaint, Plaintiff was a resident of Bryant, Saline
County, Arkansas, and a citizen of the State of Arkansasl

2. Defendant Petco Animal Supplies Stores, lnc. (“Petco”) is a California corporation
with a registered agent for service of process in Little Rock, Pulaski County, Arkansas.

3. Defendants John Doe 1-50 are the agents or. employees of Defendant Petco who
created the dangerous condition described herein and/or who failed to warn Plaintiff of the
dangerous condition.

4. Defendants John Doe 51-100l are the corporation(s), partnership(s), or other
entity(ies) that owned or operated the Petco retail store located at 'or near 20825 l~30; Benton,
Arkansas 72015 at the time relevant to this Complaint.

5. The facts and circumstances giving rise to this Complaint occurred in Benton,

` Saline County, Arkansas.

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6. This Court has subject matter jurisdiction of this matter pursuant to Ark. Code Ann.
§ 16-13-201(a).

7. This Court has personal jurisdiction of the parties pursuant to Ark. Code Ann. § 16-
4-101(B).

8. Venue in this county is proper pursuant to Arl<. Code Ann. § l6-60-10l(a)(l)
(county in which a substantial part of the event or omission giving rise to the cause of action
occurred) and Ark. Code A.nn. § 16-60-101(a)(3)(A) (county in which the plaintiff resided at the
time of the event or omission giving rise to the cause of action).

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9. y On or about March 20, 2015, Plaintiff was a customer at the Petco retail store
located at or near 20825 1~30; Benton, Arkansas 72015 (the “Petco Store”).

lO. Unbeknownst to Plaintiff, Defendant(s) had created a dangerous condition, and had
failed to wam Plaintiff of the dangerous condition

ll. Specifically, Defendant(s) had allowed a metal rod to protrude into the walkway.

See Exhibit A.

12. Upon information and belief, and based upon representations from Petco’s agents

or employees, Petco typically has a_rolling cart in front of the protruding metal.

13. Upon information and belief, and based upon representations from Petco’s agents

or employees, Defendant(s) had'moved the rolling cart, creating the dangerous condition

14. Defendants also failed to warn Plaintiff of the dangerous condition

15. Plaintiff tripped and fell over the protruding metal.

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CAUSE OF ACTION #1 - NEGLIGENCE
16. Plaintiff was an invitee upon Defendants’ premises `
17. Defendants owed Plaintiff a duty to use ordinary care to maintain the premises in a
safe condition. h

18. Defendants breached that duty in the following manner:

A. By causing a piece of metal to protrude into the walkway.

B. By causing the cart that typically blocks the protruding metal to be moved,

creating the dangerous situation
C. By not having in place effective systems or procedures to prevent the cart

'frorn being moved, creating the dangerous situation

D, By failing to warn Plaintiff of the dangerous condition.
E. By failing to otherwise use ordinary care under the circumstances at the time
of the trip and fall.

19. 'l`he injuries and damages sustained by Plaintiff, more particularly described below,
were produced in a natural and continuous sequence, and were a probable consequence of
~ Defendants’ breach of one or more of the above-described independent duties of ordinary care for
the Safery of`Praimifr.

.20. Defendants should have foreseen and anticipated that a breach of one or more of
the above-described independent duties to use ordinary care would constitute an appreciable risk
of harm to others, including Plaintiff

21. If Defendants had not breached one or more of the above-described independent
duties to use ordinary care for the safety of Plaintiff, then Plaintist injuries and damages would

not have occurred.

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COMPENSATORY DAMAGES SUFFERED BY PLAINTIFF

22. The injuries and damages sustained by Plaintiff as a result of Defendants’ breach

of the above duties include, but are not limited to, the following:

A.

Serious bodily injuries to Plaintiff s body, including, but not limited to,
Plaintiff’s neck, back, and hips;

Medical expenses incurred in the past, and transportation expenses to obtain
such medical treatment;

Future medical expenses to be incurred, and transportation expenses to
obtain such future medical treatment;

Physical pain and suffering experienced in the past;

Physical pain and suffering to be experienced in the future§

Mental anguish experienced in the past, which includes but is not limited to
Plaintiff’s loss of quality of life due to permanent injuries causing chronic
pain that limited her activities;

Mental anguish to be experienced in the future, which includes but is not

limited to Plaintiff’ s loss of quality of life due to permanent injuries causing

chronic pain that limits her activities;

Any scars, disfigurement, and visible results of her injury due to “residential
limitation of motion;” Adkins v. Kelley, 244 Arl<. 199, 424 S.W.Zd 373
(1968);

The reasonable expense of any necessary help in Plaintift’s home in the
p_ast, and reasonably certain to be required in the future, as a result of

Plaintift’s injuries; and

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J. Perrnanent bodily injuries that have been suffered, which is a life-changing
event causing Plaintiff to lose the ability to enjoy a normal life.

AMOUNT ()F DAMAGES
(Fon JUR!sI)ICTloNAL PuRPosEs UNDER ARK. Cor)n ANN. 8 16-63-221)

23. Plaintiff’s injuries and damages are in excess of the minimum amount required for

federal court jurisdiction in diversity of citizenship cases
DEMAND FOR TRIAL BY JURY
24. Plaintiff demands a trial by jury for all issues of fact presented by this action.
RESERVATION OF ADDITI()NAL CLAIMS
"' 25. Upon completion of discovery, Plaintiff reserves the right to plead further to state

additional claims and to name additional parties to this action.

WHEREFORE, Plaintiff prays for judgment against Defendants for the damages caused
by its negligence as described above, for her costs and attorneys’ fees, and for all other relief at

law or equity to which she may be entitled

Respect ully submit ed
JEA VANS,
BY: .

”i";/YLOR 8{1` [/ ofL/\w FIRM, P.A.
Andrew lor, Ark. Bar No. 2005147
'l`ashaC. Tay or, Ark. Bar No. 2005148
12921 Cantrell Road, Suite 205

Little Rocl<, Arkansas 72223

Phone: 501 -246-8004

Fax: 501 -246-8009

Email: Andy@TaylorLawFirm.com
Attorneys for Plaintiij

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IN THE CIRCUIT COURT OF SALINE COUNTY, ARKANSAS
DIVISION
JEAN EVANS . PLAINTIFF
vs. cAsE No. U>ZQ\/- \8. 332

PETC() ANIMAL SUPPLIES STORES, INC. and

JOHN DOES 1-100 ' DEFENDANTS

 

v AFFIDAVIT 0F ANDREW M. TAYLOR

 

‘BEFORE ME, the undersigned authority, on this day personally appeared ANDREW M.
TAYLOR, who being by me duly sworn, deposes and says:

1. My name is Andrew M. Taylor. l am over eighteen (l 8) years of age. l am a resident

7 and citizen of Little Rock, Pulaski County, Arkansas.

2. I have never been convicted of a crime and l am fully competent to make this Affidavit.v

3. lam an attorney licensed to practice law under and by virtue of the laws of the State of
Arkansas My Arkansas Supreme CourtEnrollment No. is 2005147. I am the attorney for the
Plaintiff in the above styled and numbered cause.

4. l have personal knowledge of the facts stated herein and they are all true and correct to
the best of my knowledge and belief.

5. The Plaintiff in the above styled and numbered cause states a cause of action for
negligence against Petco Animal Supplies Stores, lnc. (“Petco”).

6. The Defendants John Doe 1~50, are the agents or employees of Petco who created the

dangerous condition described in the Complaint, or who failed to warn Plaintiff of the dangerous

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condition described in the Complaint The identities of Defendants John Doe 1-50 in the above
styled and numbered cause are unknown at this time.

The Defendants John Doe 51-100 are the corporation(s), partnership(s), or other entity(ies)
that owned or operated the Petco retail store located at or near 20825 l-30; Benton, Arkansas 72015
at the time relevant to the Complaint. The identities of John Does 51~'100 in the above styled and
numbered cause are unknown at this time, as there are several entities registered with the Secretary
of State’s office that contain the phrase “Petco.” In addition, upon information and belief, the
Petco retail store in question identities itself as “Petco,” but there is no fictitious name registered
simply as “Petco.”

7. This Affidavit is filed with the Complaint in the above styled and numbered cause in
accordance with Arkansas Code Annotated §16-56~125 for the purpose of tolling the statute of

limitations

FURTHER AFFIANT SAYETH NOT // /%

Anti?e<»vivr. T o/ Bar No. 2005147
TAYLoR Lon LAW FIRM, P.A.
12921 C ell Road

Little Roclc, Arkansas 72223

Phone: 501-246-8004 l

Fax: 501-246-8009

Email: Andy@TaylorLawFirm.com
Attorney for Plaintiff

SUBSCRIBED AND SWORN TO BEFORE ME, Janelle Chickesh, a Notary
Public, in and for the state and county`\at`ovesaid//// on this 1

9 ay of March, 2018
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ANl]Y TAYLUR, PAHTNER
TASHA C. TAYLDR. PARTNER

\. 1 JENNlFER WlLUAMS FL|NN. ATTURNEY
l A l LG l z A L R SIDNEY A. STEWART. ATTGRNEY
- - IANELLE CH|CKESH, PARALEGAL
Law Fxrm, P.A. l Tay.lorLawFirm .com mleKEATHLEV'LEGALASS|STANT

l\/larch 21, 2018 via certified mai/: 70160340000117886 769

Petco Anlmal Supplies Stores, lnc.
c/o Corporation Service Company
300 Spring Bui|ding, Suite 900
300 S. Sprlng Street

Litt|e Rocl<, AR 72201

RE: .Iean Evans v. petco Animal Supplies $tores, lnc., et al.
Saline County Circuit Court Case No. 63CV-18-392
To Whom lt May Concern:

Enclosed please find a Summons, Complaint, and Affidavit of Andrew I\/l. Taylor in the above-referenced civil
action. Please respond in the time and manner required by law.

lf you should have any questions, please do not hesitate to contact me.

Slnc y,

    

Al\/lT/jmc
Enc|osure

 

